32 F.3d 562
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dontay CARTER, Plaintiff Appellant,v.Sewall SMITH, Warden;  William Filbert, Assistant Warden;Theodore Purnell, Security Chief, Defendants Appellees.
    No. 94-6509.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 19, 1994Decided:  August 15, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-93-4071-WN)
      Dontay Carter, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Audrey J. S. Carrion, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Carter v. Smith, No. CA-93-4071-WN (D. Md. Apr. 20, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    